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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

                              SOUTHERN DIVISION



   LEAGUE OF WOMEN VOTERS            )
   OF MICHIGAN, et al.,              )
                                     )
          Plaintiffs,                )
                                     )
   v.                                )         No. 2:17-cv-14148
                                     )
   RUTH JOHNSON, in her official     )         ORDER
   capacity as Michigan Secretary of )
   State,                            )
                                     )
          Defendant.                 )
                                     )
   ______________________________ )


                 ORDER DENYING MOTION TO INTERVENE
                 BY INDIVIDUAL MICHIGAN LEGISLATORS

         Before the Court is a Motion to Intervene By Individual Michigan

   Legislators (“Applicants”). [Dkt. No. 70.] Applicants seek to intervene pursuant

   to Rule 24(a)(2) and Rule 24(b) of the Federal Rules of Civil Procedure. We

   DENY Applicants’ motion to intervene.

                                     FINDINGS

         1.    Applicants’ attempt to intervene is in tension with the principle of

   separation of powers.   Insofar as Applicants claim an official interest in this



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   litigation, Applicants’ interest is a component of the state’s overall interest and is

   exclusively represented by the executive. See Mich. Const. art. 3, § 2 (“No person

   exercising powers of one branch shall exercise powers properly belonging to

   another branch except as expressly provided in this constitution.”). Representing

   the State of Michigan in court—whether against a challenge to the validity of a

   state law or a threat to state resources—is an executive function. See, e.g., Mich.

   Const. art. 5, §§ 1 (“The executive power is vested in the governor.”), 8 (“The

   governor shall take care that the laws be faithfully executed” and “may initiate

   court proceedings in the name of the state to enforce compliance with any

   constitutional or legislative mandate”). The Michigan legislature has correctly

   recognized this function as belonging to the executive. See, e.g., M.C.L. §§ 14.29

   (“It shall be the duty of the attorney general, at the request of the governor, the

   secretary of state, the treasurer or the auditor general, to prosecute and defend all

   suits relating to matters connected with their departments.”); 21.162 (“Whenever it

   shall be necessary to protect or assert the right or title of the state to any property

   so received or derived as aforesaid, or to collect or reduce into possession any

   bond, note, bill or chose in action, the attorney general is directed to take the

   necessary and proper proceedings and to bring suit in the name of the state in any

   court of competent jurisdiction, state or federal, and to prosecute all such suits[.]”).

         2.     Separation of powers concerns are particularly acute in a matter



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   where, as here, Michigan’s executive branch has accepted the responsibility of

   defending the state’s interests.

            3.   Applicants fail to address the separation of powers issue.

   Representing state interests in court is a power that is not typically available to the

   legislature, and we are not persuaded that current circumstances warrant

   intervention by the legislative branch or that Applicants, as individual members of

   the legislative branch, are authorized to participate in this matter on behalf of the

   state.    Cf. United States v. Windsor, 570 U.S. 744, 754 (2013) (endorsing

   intervention by “the Bipartisan Legal Advisory Group (BLAG) of the House of

   Representatives” where the executive decided not to participate in the litigation,

   the executive recognized an “interest in providing Congress a full and fair

   opportunity to participate in the litigation,” BLAG “voted to intervene,” and the

   executive “did not oppose limited intervention”).

            4.   Applicants’ motion is premature.       Although Applicants speculate

   about the “possibility” that the executive branch will end its participation in this

   matter, [R. 70 at PageID #1221], Applicants’ argument presupposes events that

   have not yet come to pass, including but not limited to the executive branch ending

   its participation in this case and the legislative branch voting to fill the adversarial

   void.     Assuming, without deciding, that there are circumstances in which the




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   legislative branch may permissibly represent the state’s interests in court,

   Applicants’ current motion is premature. See United States v. Windsor, supra.

             5.   Despite bringing this motion in their official capacities as members of

   the Michigan legislature, Applicants attempt to assert non-official interests in

   support of intervention. Applicants assert, for instance, that they have an interest

   in this litigation arising out of their current or prospective campaigns for reelection.

   [See, e.g., R. 70 at PageID #1217 (“The likelihood of Applicants’ or their

   successors’ ‘campaign coffers’ being threatened is a sufficient interest to warrant

   intervention. . . . Applicants or their successors’ interest in their reelection chances

   further highlights the need for intervention.”).] But in Michigan’s republican form

   of government, members of the legislature serve at the will of the people and have

   no official interest in maintaining their elective offices. See, e.g., Mich. Const. art.

   4, § 3.

             6.   Despite expressly disclaiming any “property interest in their elected

   positions,” Applicants attempt to assert an interest in maintaining their “or their

   successors’ reelection chances.” [R. 70 at PageID #1215.] This purported interest

   is grounded in either partisanship, notions of elective office as property, or both.

   As such, this purported interest is not cognizable for purposes of Applicants’

   motion to intervene.       See Gamrat v. Allard, No. 1:16-CV-1094, 2018 WL




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   1324467, at *5 (W.D. Mich. Mar. 15, 2018) (citing Attorney Gen. v. Jochim, 99

   Mich. 358, 367, 58 N.W. 611, 613 (1894)).

         7.     In citing support for their proffered interest in “reelection chances,”

   [R. 70 at PageID #1218], Applicants cite Wittman v. Personhuballah, 136 S. Ct.

   1732 (2016), for the proposition that “evidence of impairment of reelection

   prospects can constitute an Article III injury for standing purposes.” [R. 70 at

   PageID #1218.] But in Wittman, the Supreme Court rejected standing for members

   of the Virginia legislature, explaining that it “need not decide when, or whether,

   evidence of the kind of injury they allege [potential harm to reelection prospects]

   would prove sufficient for purposes of Article III’s requirements.” Wittman, 136

   S. Ct. at 1734. Applicants cite several other cases in support of their purported

   interest in their prospects of reelection, none of which persuades the Court.

         8.     To the extent that Applicants have any legitimate official interest in

   this litigation, such as the proffered “economic interest,” [R. 70 at PageID #1217;

   see also id. at 1218–19 (“Applicants also would be required to, in their official

   capacities, expend significant legal funds and resources towards the extraordinary

   costs of developing apportionment plans . . . .”)], such interest belongs to the state

   and is adequately represented by the executive.

         9.     Granting Applicants’ motion to intervene could create a significant

   likelihood of undue delay and prejudice to the original parties. Any delay caused



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   by Applicants’ intervention would be undue in light of Applicants’ lack of

   cognizable interest in this matter.       Furthermore, Applicants assert that they

   disagree with the executive’s litigation strategy and “possess significantly different

   . . . strategic interests[.]” [Id. at 1222–23.] Insofar as Applicants’ litigation

   strategy could conflict with that of the executive, Applicants’ intervention could be

   prejudicial to the executive’s representation of state interests.

         10.    For the above-stated reasons, Applicants do not satisfy the

   requirements to intervene under Rule 24(a)(2) or Rule 24(b) of the Federal Rules

   of Civil Procedure.

                                          ORDER

         It is hereby ORDERED that:

         A.     The Motion to Intervene By Individual Michigan Legislators [Dkt.

   No. 70] is DENIED.

         B.     Applicants may file a second motion to intervene if the executive

   abandons its participation in this matter.

                                     ENTERED: August 14, 2018


                                     s/Gordon J. Quist
                                     Signed for and on behalf of the panel:

                                     HONORABLE ERIC L. CLAY
                                     United States Circuit Judge

                                     HONORABLE DENISE PAGE HOOD


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                                United States District Judge

                                HONORABLE GORDON J. QUIST
                                United States District Judge




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